Case 4:18-cr-00012-MFU-RSB Document 531 Filed 01/30/20 Page 1 of 15 Pageid#: 2969
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                                                                              CLEF{K'S OFFICI.: U S. D'2T. COURT
                                                                                      AT ROAr\OKE, VA
                                                                                                FILED

                                                                                         JA~   .J '    ~~:o
                                                                                    JULIA I . j,L-    --~ . . . LERK
                                         IN THE                                    BY:         ~""
                              UNITED STATES DISTRICT COURT                                D PUTYCLERK

                                        FOR THE
                              WESTERN DISTRICT OF VIRGINIA
                                   DANVILLE DIVISION


      UNITED STATES OF AMERICA

                   v.                                   Case No. 4:18-cr-00012

      DASHA WN ROMEER ANTHONY
          a/k/a "Shoo Don" or "Stunna"

                                        PLEA AGREEMENT

           I have agreed to enter into a non-cooperation plea agreement with the United States
      of America, pursuant to Rule ll (c)(1)(C) of the Federal Rules of Criminal Procedure.

             The terms and conditions of this agreement are as follows :

      A. CHARGE(S) TO WHICH I AM PLEADING GUILTY AND WAIVER OF
         RIGHTS

         1. The Charges and Potential Punishment

             My attorney has infonned me of the nature of the charges and the elements of the
      charges that must be proved by the United States beyond a reasonable doubt before I could
      be found guilty as charged.

             I will enter a plea of guilty to Counts 1 and 11 of the Indictment.

              Count 1 charges me with Racketeering Conspiracy with special sentencing
      factors , in violation of 18 U.S .C. §§ 1962(d), 1963. The maximum statutory penalty for
      this charge is up to life imprisonment, a fine of $250,000 or twice the gross profits or other
      proceeds obtained, directly or indirectly, from racketeering activity, plus a term of
      supervised release. I understand and agree that I knowingly conspired and agreed that a
      conspirator would conduct and participate, directly and indirectly, in the conduct of the



                                     Defendant's Initials
Case 4:18-cr-00012-MFU-RSB Document 531 Filed 01/30/20 Page 2 of 15 Pageid#: 2970




     affairs of the enterprise through a pattern of racketeering activity. During and in
     furtherance ofthe conspiracy, I personally agreed to commit acts chargeable under Virginia
     Code §§ 18.2-32, 18.2-22 (murder and conspiracy to commit murder), Virginia Code §§
     18.2-32, 18.2-25 and 18.2-26 (attempted murder), and 21 United States Code§§ 841 and
     846 (conspiracy to distribute a controlled substance, to-wit: marijuana).

             Count 11 charges me with Use of a Firearm During a Violent Crime in Aid of
     Racketeering: the Murder of Christopher Motley, in violation of 18 U.S.C. § 924(j).
     The maximum statutory penalty is a fine of $250,000 and/or imprisonment for a term of
     life, plus a term of supervised release. I understand and agree that I am guilty of this
     offense.

            a. Criminal Conduct

             I agree and will acknowledge at the time of the plea of guilty to the criminal activity
     that I was involved in and will be held responsible for the conduct set forth in the Statement
     ofFacts filed in my case and which is incorporated herein by reference.

            b. Use and Possession of a Firearm

             I agree and will acknowledge at the time of the plea of guilty to the criminal activity
     set forth in Counts 1 and 11 , including the conduct set forth therein, that I possessed and
     used firearms to facilitate the commission of the criminal activity and the affairs of the
     enterprise.

            c. Miscellaneous

             I understand restitution may be ordered, my assets may be subject to forfeiture, and
     fees may be imposed to pay for incarceration, supervised release, and costs of prosecution.
     In addition, a $100 special assessment, pursuant to 18 U.S.C. § 3013, will be imposed per
     felony count of conviction. I further understand my supervised release may be revoked if
     I violate its terms and conditions. I understand a violation of supervised release increases
     the possible period of incarceration.

            I am pleading guilty as described above because I am in fact guilty and because I
     believe it is in my best interest to do so and not because of any threats or promises.
Case 4:18-cr-00012-MFU-RSB Document 531 Filed 01/30/20 Page 3 of 15 Pageid#: 2971




         2. No Substantial Assistance

         I understand and acknowledge that I am not cooperating in this case and, as such, I
      understand and acknowledge that I am not eligible for any reduction in my sentence
      pursuant to Fed. R. Crim. P. 35(b), U.S .S.G. §5Kl.l and 18 U.S.C. § 3553(e).

         3. Dismissal of Federal Charges

              If I comply with my obligations under the non-cooperator plea agreement, the
      United States will move, at sentencing, that I be dismissed as a defendant in any remaining
      counts. I stipulate and agree that the United States had probable cause to bring all the counts
      in the Indictment which are being dismissed under this agreement, these charges were not
      frivolous, vexatious or in bad faith, and I am not a "prevailing party" with regard to these
      charges . I further waive any claim for attorney 's fees and other litigation expenses arising
      out of the investigation or prosecution of this matter.

         4. Dismissal of State Charges

              If I comply with my obligations under the non-cooperator plea agreement, the
      Commonwealth Attorney 's Office for Danville, Virginia, will move, within five days of
      my sentencing in this case, to dismiss with prejudice case no. CR17000712 (Felony
      possession of ammunition) and case no . CR18000006 (Possession of firearm by felon),
      which are currently pending in the Circuit Court for the City of Danville. In addition, the
      Commonwealth Attorney's Office for Danville, Virginia, will not seek any additional
      sentence against me for any probation violation in cases no. CJ08000029 and CJ08000030
      and will advocate for a concurrent sentence in that case, if any additional sentence is
      required by the Circuit Court. I stipulate and agree that the Commonwealth Attorney's
      Office had probable cause to bring all the counts in those cases, these charges were not
      frivolous, vexatious or in bad fa ith, and I am not a "prevailing party" with regard to these
      charges. I further waive any claim for attorney's fees and other litigation expenses arising
      out of the investigation or prosecution of those matters.

             The Commonwealth Attorney for the City of Danville's agreement with this
      provision is indicated by his signature to this plea agreement in his capacity as the Danville
      Commonwealth Attorney.




                                     Defendant's Initials:
Case 4:18-cr-00012-MFU-RSB Document 531 Filed 01/30/20 Page 4 of 15 Pageid#: 2972




         5. Waiver of Constitutional Rights Upon a Plea of Guilty

             I acknowledge I have had all of my rights explained to me and I expressly recognize
      I have the following constitutional rights and, by voluntarily pleading guilty, I knowingly
      waive and give up these valuable constitutional rights:

            a. The right to   plead not guilty and persist in that plea;
            b. The right to   a speedy and public jury trial;
            c. The right to   assistance of counsel at that trial and in any subsequent appeal ;
            d. The right to   remain silent at trial;
            e. The right to   testify at trial;
            f. The right to   confront and cross-examine witnesses called by the government;
            g. The right to   present evidence and witnesses in my own behalf;
            h. The right to   compulsory process of the court;
            1. The right to   compel the attendance of witnesses at trial ;
            J. The right to   be presumed innocent;
            k. The right to   a unanimous guilty verdict; and
            I. The right to   appeal a guilty verdict.


     B. SENTENCING PROVISIONS

         1. General Matters

             Pursuant to Fed. R. Crim. P. ll(c)(l)(C), the United States and I agree I shall
     be sentenced to a period of incarceration within the range of 300 months to 324
     months in this case. The parties agree this is a reasonable sentence considering all of the
     facts and circumstances of this case. I understand the Court must sentence me within this
     range or reject the plea agreement. If, and only if, the Court rejects the plea agreement, I
     will be given an opportunity to withdraw my guilty plea. The United States and I agree all
     other sentencing matters, including, but not limited to, supervised release, fines, and
     restitution, are left to the Court's discretion. Because the parties have stipulated the agreed
     to sentence of imprisonment is reasonable regardless ofthe guidelines calculations, I waive
     any right I may have to any future reduction in sentence based on a change in the sentencing
     guidelines.

            I understand I will have an opportunity to review a copy of my presentence report
     in advance of my sentencing hearing and may file objections, as appropriate. I will have




                                              Page 4 of
Case 4:18-cr-00012-MFU-RSB Document 531 Filed 01/30/20 Page 5 of 15 Pageid#: 2973




      an opportunity at my sentencing hearing to present evidence, bring witnesses, cross-
      examine any witnesses the government calls to testify, and argue to the Court what an
      appropriate sentence should be within the confines of the terms of this agreement.

            I understand I will not be eligible for parole during any term of imprisonment
      imposed.

         2. Sentencing Guidelines

           I stipulate and agree that all matters pertaining to any of the counts of the charging
      document, including any dismissed counts, are relevant conduct for purposes of sentencing.

              The parties agree the 2018 edition of the United States Sentencing Guidelines
      Manual applies to any guidelines calculation made pertaining to my offenses. I stipulate
      that the following guideline section is applicable to my conduct:

        3Bl.l   I       +4 I Leadership Role

            The United States stipulates that the guideline sections set forth in this section
      should apply to my conduct. I agree I shall be sentenced to a period of incarceration
      within the range of 300 months to 324 months in this case. I agree and understand
      that both parties are free to advocate for any sentence within this range.

             I understand other guideline sections may be applicable to my case and the United
      States and I will be free to argue whether these sections should or should not apply to the
      extent the arguments are not inconsistent with the stipulations, recommendations, and
      terms set forth in this non-cooperator plea agreement.

              I agree to accept responsibility for my conduct. If I comply with my obligations
      under this non-cooperator plea agreement and accept responsibility for my conduct, the
      United States will recommend the Court grant me a two-level reduction in my offense level,
      pursuant to U.S.S.G. § 3El.l(a) and, if applicable, at sentencing, will move that I receive
      a one-level reduction in my offense level, pursuant to U.S. S. G. § 3E 1.1 (b), for purposes of
      any guidelines calculation. However, I stipulate that if I fail to accept responsibility for
      my conduct or fail to comply with any provision of this plea agreement, I should not receive
      credit for acceptance of responsibility. Because this is a non-cooperator plea agreement, I
      understand and acknowledge that I am not eligible for any reduction in my sentence
      pursuant to Fed. R. Crim. R. 35(b), U .S.S.G . §5Kl.l , and 18 U.S.C. § 3553(e).
Case 4:18-cr-00012-MFU-RSB Document 531 Filed 01/30/20 Page 6 of 15 Pageid#: 2974




         3. Monetary Obligations

             a. Special Assessments, Fines and Restitution

             I understand persons convicted of crimes are required to pay a mandatory
      assessment of $100.00 per felony count of conviction. I agree I will submit to the U.S.
      Clerk's Office, a certified check, money order, or attorney ' s trust check, made payable to
      the "Clerk, U.S. District Court" for the total amount due for mandatory assessments prior
      to entering my plea of guilty.

               I agree to pay restitution for the entire scope of my criminal conduct, including, but
       not limited to, all matters included as relevant conduct. In addition, I agree to pay any
       restitution required by law, including, but not limited to, amounts due pursuant to 18 USC
       §§ 2259, 3663, and/or 3663A. I understand and agree a requirement I pay restitution for
     . all of the above-stated matters will be imposed upon me as part of any final judgment in
       this matter.

              I further agree to make good faith efforts toward payment of all mandatory
      assessments, restitution and fines , with whatever means I have at my disposal. I agree
      failure to do so will constitute a violation of this agreement. I will execute any documents
      necessary to release the funds I have in any repository, bank, investment, other financial
      institution, or any other location in order to make partial or total payment toward the
      mandatory assessments, restitution and fines imposed in my case.

              I fully understand restitution and forfeiture are separate financial obligations which
      may be imposed upon a criminal defendant. I further understand there is a process within
      the Department of Justice whereby, in certain circumstances, forfeited funds may be
      applied to restitution obligations. I understand no one has made any promises to me that
      such a process will result in a decrease in my restitution obligations in this case.
              I understand and agree, pursuant to 18 U.S .C. §§ 3613 and 3664(m), whatever
      monetary penalties are imposed by the Court will be due immediately and subject to
      immediate enforcement by the United States as provided for by statute. I understand if the
      Court imposes a schedule of payments, that schedule is only a minimum schedule of
      payments and not the only method, nor a limitation on the methods, available to the United
      States to enforce the judgment.

             I agree to grant the United States a wage assignment, liquidate assets, or complete
      any other tasks which will result in immediate payment in full , or payment in the shortest
Case 4:18-cr-00012-MFU-RSB Document 531 Filed 01/30/20 Page 7 of 15 Pageid#: 2975




      time in which full payment can be reasonably made as required under 18 U .S.C. § 3572(d).

             I expressly authorize the United States Attorney' s Office to obtain a credit report on
      me in order to evaluate my ability to satisfy any financial obligation imposed by the Court.

              I agree the following provisions, or words of similar effect, should be included as
      conditions of probation and/or supervised release: ( 1) "The defendant shall notify the
      Financial Litigation Unit, United States Attorney's Office, in writing, of any interest in
      property obtained, directly or indirectly, including any interest obtained under any other
      name, or entity, including a trust, partnership or corporation after the execution of this
      agreement until all fines , restitution, money judgments and monetary assessments are paid
      in full" and (2) "The Defendant shall notify the Financial Litigation Unit, United States
      Attorney 's Office, in writing, at least 30 days prior to transferring any interest in property
      owned directly or indirectly by Defendant, including any interest held or owned under any
      other name or entity, including trusts, partnership and/or corporations until all fines ,
      restitution, money judgments and monetary assessments are paid in full. "

              The parties will also jointly recommend that as a condition of probation or
      supervised release, Defendant will notify the Financial Litigation Unit, United States
      Attorney's Office, before Defendant transfers any interest in property owned directly or
      indirectly by Defendant, including any interest held or owned under any other name or
      entity, including trusts, partnership and/or corporations. See 18 U.S.C. § 3664(k), (n).

             Regardless of whether or not the Court specifically directs participation or imposes
      a schedule of payments, I agree to fully participate in inmate employment under any
      available or recommended programs operated by the Bureau of Prisons.

              I agree any payments made by me shall be applied fully to the non-joint and several
      portion of my outstanding restitution balance until the non-joint and several portion of
      restitution is paid in full, unless the Court determines that to do so would cause a hardship
      to a victim ofthe offense(s) .

             b. Duty to Make Financial Disclosures

            I understand in this case there is a possibility substantial fines and/or restitution may
      be imposed. In order to assist the United States as to any recommendation and in any
      necessary collection of those sums, I agree, if requested by the United States, to provide a
      complete and truthful financial statement to the United States Attorney's Office, within 30
Case 4:18-cr-00012-MFU-RSB Document 531 Filed 01/30/20 Page 8 of 15 Pageid#: 2976




      days of the request or 3 days prior to sentencing, whichever is earlier, detailing all income,
      expenditures, assets, liabilities, gifts and conveyances by myself, my spouse and my
      dependent children and any corporation, partnership or other entity in which I hold or have
      held an interest, for the period starting on January 1st of the year prior to the year my
      offense began and continuing through the date of the statement. This financial statement
      shall be submitted in a form acceptable to the United States Attorney's office.

            From the time of the signing of this agreement or the date I sign the financial
      statement, whichever is earlier, I agree not to convey anything of value to any person
      without the authorization of the United States Attorney's Office.

             c. Understanding of Collection Matters

             I understand:

             1. as part of the judgment in this case I will be ordered to pay one or more monetary
                obligations;
             2. payment should be made as ordered by the Court;
             3. I must mail payments, by cashier's check or money order, payable to the "Clerk,
                U.S. District Court" to: 210 Franklin Road, S.W., Suite 540, Roanoke, Virginia
                24011; and include my name and court number on the check or money order;
             4. interest (unless waived by the Court) and penalties must be imposed for late or
                missed payments;
             5. the United States may file liens on my real and personal property that will remain
                in place until monetary obligations are paid in full , or until liens expire (the later
                of 20 years from date of sentencing or release from incarceration);
             6. ifl retain counsel to represent me regarding the United States ' efforts to collect
                any of my monetary obligations, I will immediately notify the United States
                Attorney's Office, ATTN: Financial Litigation Unit, P.O. Box 1709, Roanoke,
                Virginia 24008-1709, in writing, of the fact of my legal representation; and
             7. I, or my attorney if an attorney will represent me regarding collection of
                monetary obligations, can contact the U.S. Attorney's Office 's Financial
                Litigation Unit at 540/8 57-2259.




                                               Page 8 of I
Case 4:18-cr-00012-MFU-RSB Document 531 Filed 01/30/20 Page 9 of 15 Pageid#: 2977




      C. ADDITIONAL MATTERS

         1. Waiver of Right to Appeal

             Knowing that I have a right of direct appeal of my sentence under 18 U.S.C. §
      3742(a) and the grounds listed therein, I expressly waive the right to appeal my sentence
      on those grounds or on any ground. In addition, I hereby waive my right of appeal as to
      any and all other issues in this matter and agree I will not file a notice of appeal. I am
      knowingly and voluntarily waiving any right to appeal. By signing this agreement, I am
      explicitly and irrevocably directing my attorney not to file a notice of appeal.
      Notwithstanding any other language to the contrary, I am not waiving my right to appeal
      or to have my attorney file a notice of appeal, as to any issue which cannot be waived, by
      law. I understand the United States expressly reserves all of its rights to appeal. I agree
      and understand if I file any court document (except for an appeal based on an issue
      that cannot be waived, by law, or a collateral attack based on ineffective assistance of
      counsel) seeking to disturb, in any way, any order imposed in my case such action
      shall constitute a failure to comply with a provision of this agreement.

         2. Waiver of Right to Collaterally Attack

              I waive any right I may have to collaterally attack, in any future proceeding, any
      order issued in this matter, unless such attack is based on ineffective assistance of counsel,
      and agree I will not file any document which seeks to disturb any such order, unless such
      filing is based on ineffective assistance of counsel. I agree and understand that if I file
      any court document (except for an appeal based on an issue not otherwise waived in
      this agreement; an appeal based on an issue that cannot be waived, by law; or a
      collateral attack based on ineffective assistance of counsel) seeking to disturb, in any
      way, any order imposed in my case, such action shall constitute a failure to comply
      with a provision of this agreement.

         3. Information Access Waiver

             I knowingly and voluntarily agree to waive all rights, whether asserted directly or
      by a representative, to request or receive from any department or agency of the United
      States any records pertaining to the investigation or prosecution of this case, including
      without limitation any records that may be sought under the Freedom of Information Act,
      5 U.S.C. §552, or the Privacy Act of 1974, 5 U.S .C. §552a.




                                     Defendant's Initials:
Case 4:18-cr-00012-MFU-RSB Document 531 Filed 01/30/20 Page 10 of 15 Pageid#: 2978




         4. Waiver of Witness Fee

             I agree to waive all rights , claims or interest in any witness fee I may be eligible to
      receive pursuant to 28 U.S.C. § 1821 , for my appearance at any Grand Jury, witness
      conference or court proceeding.

         5. Abandonment of Seized Items

               By signing this plea agreement, I hereby abandon my interest in, and consent to the
      official use, destruction or other disposition of each item obtained by any law enforcement
      agency during the course of the investigation, unless such item is specifically provided for
      in another provision of this plea agreement and unless such item is admitted as evidence at
      a trial in this or another case, except for an iPhone seized by the Danville Police Department
      seized in incident number 17000 167. The United States agrees to return all photographs
      from this iPhone after sentencing in this case I further waive any and all notice of any
      proceeding to implement the official use, destruction, abandonment, or other disposition of
      such items.

         6. Deportation

             I understand ifl am not a citizen of the United States, I may be subject to deportation
      from the United States, denied United States citizenship, and denied admission to the
      United States in the future, as a result of my conviction for the offense(s) to which I am
      pleading guilty.

         7. Denial of Federal Benefits

             At the discretion of the court, I understand I may also be denied any or all federal
      benefits, as that term is defined in 21 U.S.C. § 862, (a) for up to five years if this is my first
      conviction of a federal or state offense consisting of the distribution of controlled
      substances, or up to one year if this is my first conviction of a federal or state offense
      involving the possession of a controlled substance; or (b) for up to ten years if this is my
      second conviction of a federa l or state offense consisting of the distribution of controlled
      substances, or up to five years if this is my second or more conviction of a federal or state
      offense involving the possession of a controlled substance. If this is my third or more
      conviction of a federal or state offense consisting of the distribution of controlled
      substances, I understand I could be permanently ineligible for all federal benefits, as that
      term is defined in 21 U.S.C. § 862(d).



                                      Defendant's Initials: -:Y
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Case 4:18-cr-00012-MFU-RSB Document 531 Filed 01/30/20 Page 11 of 15 Pageid#: 2979




         8. Admissibility of Statements

             I understand if I fail to plead guilty in accordance with this agreement or withdraw
      my plea(s) of guilty any statements I make (including this plea agreement, and my
      admission of guilt) during or in preparation for any guilty plea hearing, sentencing hearing,
      or other hearing and any statements I make or have made to law enforcement agents, in
      any setting (including during a proffer), may be used against me in this or any other
      proceeding. I knowingly waive any right I may have under the Constitution, any statute,
      rule or other source of law to have such statements, or evidence derived from such
      statements, suppressed or excluded from being admitted into evidence and stipulate that
      such statements can be admitted into evidence. If I withdraw my guilty plea based solely
      on the Court's rejection of the plea agreement, the provisions of this paragraph will not
      apply.

         9. Additional Obligations

             I agree not to commit any of the following acts:

                •   attempt to withdraw my guilty plea, unless the Court rejects the plea
                    agreement;
                •   deny I committed any crime to which I have pled guilty;
                •   make or adopt any arguments or objections to the presentence report that are
                    inconsistent with this plea agreement;
                •   obstruct justice;
                •   fail to comply with any provision of this plea agreement;
                •   commit any other crime;
                •   make a false statement; or
                •   fail to enter my plea of guilty when scheduled to do so, unless a continuance
                    is agreed to by the United States Attorney's Office and granted by the Court.

      D. REMEDIES AVAILABLE TO THE UNITED STATES

              I hereby stipulate and agree that the United States Attorney's office may, at its
      election, pursue any or all of the following remedies ifl fail to comply with any provision
      of this agreement: (a) declare this plea agreement void; (b) refuse to dismiss any charges;
      (c) reinstate any dismissed charges ; (d) file new charges; (e) withdraw any substantial
      assistance motion made, regardless of whether substantial assistance has been performed;


                                    Defendant's Initials:   :1-.Jr
                                             Page l! of   U
Case 4:18-cr-00012-MFU-RSB Document 531 Filed 01/30/20 Page 12 of 15 Pageid#: 2980




      (f) refuse to abide by any provision, stipulations, and/or recommendations contained in this
      plea agreement; or (g) take any other action provided for under this agreement or by statute,
      regulation or court rule.

              In addition, I agree if, for any reason, my conviction is set aside, or I fail to comply
      with any obligation under the plea agreement, the United States may file, by indictment or
      information, any charges against me which were filed and/or could have been filed
      concerning the matters involved in the instant investigation. I hereby waive my right under
      Federal Rule of Criminal Procedure 7 to be proceeded against by indictment and consent
      to the filing of an information against me concerning any such charges. I also hereby waive
      any statute of limitations defense as to any such charges.

             The remedies set forth above are cumulative and not mutually exclusive. The
      United States ' election of any of these remedies, other than declaring this plea agreement
      void, does not, in any way, terminate my obligation to comply with the terms of the plea
      agreement. The use of"if' in this section does not mean "if, and only if."

      E. GENERAL PROVISIONS

         1. Limitation of Agreement

              This agreement only binds the United States Attorney ' s Office for the Western
      District of Virginia. It does not bind any state or local prosecutor, other United States
      Attorney's Office or other office or agency of the United States Government, including,
      but not limited to, the Tax Division of the United States Department of Justice, or the
      Internal Revenue Service of the United States Department of the Treasury. These
      individuals and agencies remain free to prosecute me for any offense(s) committed within
      their respective jurisdictions.

         2. Effect of My Signature

              I understand my signature on this agreement constitutes a binding offer by me to
      enter into this agreement. I understand the United States has not accepted my offer until it
      signs the agreement.

         3. Effective Representation

             I have discussed the terms of the foregoing plea agreement and all matters pertaining



                                     Defendant's Initials:

                                              Page 12 of l
Case 4:18-cr-00012-MFU-RSB Document 531 Filed 01/30/20 Page 13 of 15 Pageid#: 2981




      to the charges against me with my attorney and am fully satisfied with my attorney and my
      attorney's advice. At this time, I have no dissatisfaction or complaint with my attorney ' s
      representation. I agree to make known to the Court no later than at the time of sentencing
      any dissatisfaction or complaint I may have with my attorney's representation.

         4. Misconduct

             If I have any information concerning any conduct of any government attorney,
      agent, employee, or contractor which could be construed as misconduct or an ethical, civil,
      or criminal violation, I agree to make such conduct known to the United States Attorney's
      Office and the Court, in writing, as soon as possible, but no later than my sentencing
      hearing.

         5. Final Matters

             I understand a thorough presentence investigation will be conducted and sentencing
      recommendations independent of the United States Attomey's Office will be made by the
      presentence preparer, which the Court may adopt or take into consideration. I understand
      any calculation regarding the guidelines by the United States Attorney's Office or by my
      attorney is speculative and is not binding upon the Court, the Probation Office or the United
      States Attorney's Office. No guarantee has been made by anyone regarding the effect of
      the guidelines on my case.

             I understand the prosecution will be free to allocute or describe the nature of this
      offense and the evidence in this case and make any recommendations not prohibited by
      this agreement.

              I understand the United States retains the right, notwithstanding any provision in
      this plea agreement, to inform the Probation Office and the Court of all relevant facts , to
      address the Court with respect to the nature and seriousness of the offense(s), to respond
      to any questions raised by the Court, to correct any inaccuracies or inadequacies in the
      presentence report and to respond to any statements made to the Court by or on behalf of
      the defendant.

             I willingly stipulate there is a sufficient factual basis to support each and every
      material factual allegation contained within the charging document(s) to which I am
      pleading guilty.
Case 4:18-cr-00012-MFU-RSB Document 531 Filed 01/30/20 Page 14 of 15 Pageid#: 2982




              I understand this agreement does not apply to any crimes or charges not addressed
      in this agreement. I understand if I should testify falsely in this or in a related proceeding
      I may be prosecuted for perjury and statements I may have given authorities pursuant to
      this agreement may be used against me in such a proceeding.

              I understand my attorney will be free to argue any mitigating factors on my behalf;
      to the extent they are not inconsistent with the tenns of this agreement. I understand I will
      have an opportunity to personally address the Court prior to sentence being imposed.

              This writing sets forth the entire understanding between the parties and constitutes
      the complete plea agreement between the United States Attorney for the Western District
      of Virginia and me, and no other additional terms or agreements shall be entered except
      and unless those other terms or agreements are in writing and signed by the parties. This
      plea agreement supersedes all prior understandings, promises, agreements, or conditions,
      if any, between the United States and me.

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Case 4:18-cr-00012-MFU-RSB Document 531 Filed 01/30/20 Page 15 of 15 Pageid#: 2983




      I have consulted with my attorney and fully understand all my rights. I have read this plea
      agreement and carefully reviewed every part of it with my attorney. I understand this
      agreement and I voluntarily agree to it. I have not been coerced, threatened, or promised
      anything other than the terms of this plea agreement, described above, in exchange for my
      plea of guilty. Being aware of all of the possible consequences of my plea, I have
      independently . decided to enter this plea of my own free will, and am affinning that
      agreement on this date and by my signature b low.


      Date:    I ·llR ·x.om
                                                                                        ant

              I have fully explained all rights v liable to my client with r sp, ct to the offenses
      listed in the pending charging document(s) . I have carefully reviewea every part of this
      plea agreement with my client. To my knowledge, my client's decision to enter into this
      agreement is an infonned and voluntary one.

            Ifl will continue to represent my client regarding the United States' efforts to collect
      any monetary obligations, l will notify the United States Attorney's Office, ATTN:
      Financial Litigation Unit, P.O. Box 1709, Roanoke, Virginia 24008-1709, in writing, of
      :~~s ~~:eof my continued legal representati/ ;with~ entry of judgment in


      Date:      Lbo /2<>                         r;f ~ -----------
                                                 Chnstopher Leibig, Esq.
                                                 Elizabeth Peiffer, Esq.
                                                 Counsel for Defendant


                                                 H~
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      Date:   ---r
                    /30/~0
                 . ----,r--~--------


                                                 Ronald M. Huber
                                                 Assistant United States Attorneys


      Date:   _y
               ,__~_tJ-'j
                       +--~_eJ___
                                                 ~~
                                                 Danville Commonwealth Attorney




                                     Defendant's Initials: ____

                                             Page 15 of 15
